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                          STATE OF TEXAS

     SENATE COMMITTEE ON CHILD PROTECTIVE SERVICES,

                             SPECIAL



                          SENATE CHAMBER



                          MARCH 17, 2022



              EXCERPTS OF THE COMMITTEE HEARING



   TESTIMONY OF DEPARTMENT OF PUBLIC SAFETY DIRECTOR

                      COL. STEVEN MCCRAW
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 1                   SENATOR KOLKHORST:      Members, we are

 2   going to redirect our panels, and at this time I

 3   would like to call Colonel Steven McCraw, director

 4   of the Department of Public Safety.

 5              And I think I saw -- yes, Director McCraw,

 6   welcome.

 7              Director, I had asked you to be present

 8   today to talk about the specific case that created

 9   the formation of this committee but -- and what you

10   can share in those details, but also processes of

11   when the DPS does become involved in these

12   particular issues.

13              And so I know yesterday you issued a

14   letter in the ongoing pursuit of what really

15   happened at The Refuge.      And so I will ask you to

16   testify to that.

17                   COL. MCCRAW:     Madam Chair, Senators,

18   Steve McCraw, Director of Texas Department of Public

19   Safety first, thank you for the opportunity to

20   testify today.

21              First, it was March 10th, that the

22   Department was directed by the governor to conduct

23   an investigation to identify if there's any

24   instances of sexual abuse or sex trafficking at The

25   Refuge shelter, which is contracted by the


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 1   Department of Family and Protective Services.           We

 2   dispatched a team of Texas Rangers to that location.

 3            And without going into all the aspects of

 4   it in terms of the interviews and documents and

 5   stuff, there was clearly, you know, two instances of

 6   employee misconduct that were obviously the most

 7   disturbing.   One being the most egregious that was

 8   reported initially on January 24th of 2022 involved,

 9   you know, the sexual exploitation of two minors

10   specifically.    You know, they were recruited to

11   provide nude photos allegedly in exchange for money

12   and/or drugs.    That's under investigation right now.

13            When it was brought to the attention of

14   The Refuge, they reported it to the Department of

15   Family and Protective Services.        They also reported

16   to it the Bastrop County Sheriff's Department that's

17   conducting the investigation.

18            Although no arrests have been made at this

19   time, we anticipate that there will be prosecution.

20   We would expect it to be sexual exploitation of a

21   minor and also child pornography.        And that's up to

22   the prosecutor at the time, but they are an ongoing

23   investigation.    And the only thing that's

24   outstanding right now is digital evidence is what

25   they're waiting on at this particular point.


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 1            The second incident was reported on

 2   February 20th.    It involved the escape of two

 3   residents females at the location.        In that

 4   instance, again, The Refuge identified the

 5   employees -- and I say initially it was employees,

 6   but it turned out to be an employee involved.

 7   Confronted her, terminated her.        And she has been

 8   arrested.    She was arrested for providing false

 9   information to the Bastrop County Sheriff's

10   Department.

11            The Bastrop County Sheriff's Department

12   was also able to locate the first escapee, okay,

13   that evening and returned her to the facility.           The

14   second one returned the following day on her own

15   volition.

16            Further investigation by the -- well, they

17   did report it again to the sheriff's office, they

18   reported it to DFPS, and the -- and the institution

19   itself fired three additional employees, okay, and

20   not for this particular instance but for, as we

21   understand it, not being forthright on other

22   administrative allegations.       Were unable to identify

23   any instances where children outside of that were

24   involved and -- or had been exploited in terms of

25   sexual abuse or sex trafficking.


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 1             We are aware that there was reported to

 2   the Court on May 10 -- March 10, it was reported to

 3   the federal district judge and the court monitors, a

 4   report that was written early in the morning or late

 5   at night, whenever you want to look at it, at 1:00.

 6   And that report discussed and referenced in terms of

 7   seven children being victims of nine perpetrators.

 8   So when we looked and scoured at all the particular

 9   evidence to identify anything, any criminal conduct

10   whatsoever, and we were unable to identify it.

11             In review of the files, we determined that

12   one of the complaints, for example, what they would

13   call an outtake, involved -- were duplicative.           Or

14   actually, two were duplicative in the regard.           One

15   involved a medical complaint, neglect, a complaint

16   regarding negligence.     Another one, an employee

17   sleeping on the job.     And another had to do with

18   just neglect.    Those had nothing to do with sexual

19   trafficking, sexual abuse and certainly sexual

20   exploitation as we saw in the other instance in that

21   regard.

22             This information was documented in a DFPS

23   report, provided to the court monitors.         Before it

24   was, it went through DFPS general counsel, and there

25   was many adaptations on it and qualifiers, for


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 1   example, caveats that this information is

 2   unverified, this information may have some

 3   inaccuracies.    This is a summation of conjecture by

 4   child protective service investigators or special

 5   investigators.    So those caveats existed; however,

 6   they were removed before they were forwarded to the

 7   federal district judge's court monitors.          And, of

 8   course, those were the basis of those reports

 9   regarding sex allegations going unaddressed at

10   the -- at The Refuge.

11            That concludes my testimony.

12                   SENATOR KOLKHORST:      Thank you,

13   Director McCraw.    Senator Perry.

14                   SENATOR PERRY:     Thank you, Madam

15   Chair.

16            Real quick, to be clear, just so that I've

17   got a clear understanding, two employees are, I

18   guess, tied up in this issue?

19                   COL. MCCRAW:     Yes, sir.    The first one

20   is sexual exploitation on January 24th, and the

21   second one, February 20th, involving the escape of

22   two.

23                   SENATOR PERRY:     Escape.    And you don't

24   have to tell me if you're not supposed to, but did

25   you actually interview the girls or the kids at


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 1   the facility?

 2                   COL. MCCRAW:     Either we did or someone

 3   else did through the crisis or the --

 4                   SENATOR PERRY:     So through the --

 5                   COL. MCCRAW:     -- child advocacy.      Yes.

 6   Yes.

 7                   SENATOR PERRY:     All right.     Thank you.

 8                   COL. MCCRAW:     There's one -- there's

 9   one outstanding, and she was a volunteer.          She

10   wasn't placed in there by DFPS.        We're still trying

11   to talk to her.    And there's one other interview we

12   would like to conclude that was -- would have been

13   involved in the phone conversation and monitored it,

14   or at least heard the phone conversation that

15   occurred, you know, between DFPS and the court

16   monitor.

17                   SENATOR PERRY:     So no evidence that it

18   was pervasive 100 percent employee worked for some

19   staff or any of that?

20                   COL. MCCRAW:     No, sir.

21                   SENATOR PERRY:     Thank you.

22                   SENATOR KOLKHORST:      Senator Huffman.

23                   SENATOR HUFFMAN:     Yeah, just a couple

24   of questions.

25              Thank you for being here.      Thanks for the


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 1   work that DPS has done on this case.

 2              I think you're a good person to ask this

 3   question.    I know many people involved in these

 4   types of cases know this, but I think it's important

 5   to publicly state, and so people may not understand,

 6   but victims of human trafficking very often are

 7   similar to victims of domestic abuse.         Is that

 8   correct?

 9                   COL. MCCRAW:     Yes, that is correct.

10                   SENATOR HUFFMAN:     They have a --

11   sometimes have a very hard time adjusting to life

12   once they're removed from that situation.          Is that a

13   fair thing to say?

14                   COL. MCCRAW:     Yes, ma'am.    Absolutely.

15                   SENATOR HUFFMAN:     And it's not unusual

16   for victims, and sometimes the very young ones as

17   well, as we have -- we have here in The Refuge, to

18   be very confused about themselves, about their

19   lifestyle and actually want to revert back to the

20   lifestyle.

21                   COL. MCCRAW:     Yes, ma'am.

22                   SENATOR HUFFMAN:     Is that -- is that

23   correct?

24                   COL. MCCRAW:     Absolutely.

25                   SENATOR HUFFMAN:     So they are very


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 1   vulnerable, and they are very difficult sometimes to

 2   keep in a very sheltered environment and to give

 3   them the therapy and the help that they need.

 4             And so would you agree -- and this goes to

 5   Senator Miles' point, it's very important that

 6   individuals who work in that system are very, very

 7   attuned to the needs and the uniqueness of this

 8   vulnerable victim population.        Is that fair to say?

 9                   COL. MCCRAW:     Absolutely.

10                   SENATOR HUFFMAN:      Would you agree that

11   taking nude photos of a young female, a juvenile

12   female in a situation like that is just about one of

13   the worst things that you could do to a young woman

14   that we were trying to educate and give therapy to

15   and give her self-confidence and belief in herself

16   to make her be able to get rid of this chain of

17   being a victim, I mean, that's just about the worst

18   thing you can do is exploit her body, correct?

19                   COL. MCCRAW:     It's despicable.

20                   SENATOR HUFFMAN:      Despicable.

21             And helping one of these victims escape

22   back into the community and maybe -- you said one

23   came back and it worked out.        But would it be safe

24   to assume that it is very likely that if one of

25   these individuals or victims who if they wanted to


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 1   escape and they go out, that they will probably go

 2   back to the very perpetrator or, you know, pervert

 3   who had been exploiting them in the first place?

 4                   COL. MCCRAW:     Yeah, most -- most often

 5   they do.    And they revert back, and they're very

 6   susceptible at that point in time.         And that's why

 7   we applaud the Bastrop County Sheriff's office

 8   quickly located one and, you know, additionally, you

 9   know, assisting in the recovery of the other one.

10                   SENATOR HUFFMAN:      Okay.    I just wanted

11   to make that public and make sure that we think

12   about that as we go through these steps.

13              Thank you very much.

14                   SENATOR KOLKHORST:       Back to Senator

15   Perry for a follow-up.

16                   SENATOR PERRY:      Real quick.     You know,

17   I want to be real careful here, but -- and if you

18   can't address it, I get it.        But there was an

19   explanation given that one, if not -- I think one,

20   maybe both, one wanted to leave the facility out of

21   fear of safety because they were involved in some, I

22   guess, witness protection for lack a better term.

23   Are you aware of that?      And if so, have you stepped

24   up security on that level?       Because if evidently one

25   of the kids have been actively engaged in kind of


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 1   turning over some of their previous lifestyle

 2   employers, if you will, for lack of a better term, I

 3   mean, can you say anything to that, or --

 4                   COL. MCCRAW:     We're not aware of any

 5   specific or credible threats on anybody at the

 6   shelter.

 7                   SENATOR PERRY:      Okay.   Well, that's

 8   inconsistent I think with some of the information

 9   internally that is being said, that the excuse given

10   for leaving the facility was out of fear of safety

11   because they were afraid that their previous

12   association with those involved in human trafficking

13   were coming to get them.

14                   COL. MCCRAW:     Yes, sir, exactly.

15                   SENATOR PERRY:      And you're not aware

16   of any --

17                   COL. MCCRAW:     I'm not aware, no, sir.

18                   SENATOR PERRY:      Thank you.     But even

19   if you're not aware of it, is it something that we

20   as, I guess, you being you, and you've got plenty on

21   your plate, but should we address that with at a

22   minimum some additional security out there until

23   those issues could be --

24                   COL. MCCRAW:     Before we answer that, I

25   prefer that we would actually do a threat -- a


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 1   technical threat -- physical threat assessment to be

 2   able to answer the question.

 3                   REPRESENTATIVE PAUL:       And I'm not in

 4   your business, because you're the best at it, but

 5   you need to talk to that facility and get that story

 6   nailed down, because you and I and I think everybody

 7   in this capitol understands the ruthlessness of the

 8   cartel and some of those gang members that are

 9   engaged in this activity, and there are no

10   boundaries and there is no -- there's no

11   reservation, I guess, if they feel compelled to

12   inflict harm.

13             So I would -- I would ask just as a

14   legislator, please follow up at every level that you

15   can and make sure that that doesn't demand

16   additional security over that facility specifically.

17                   COL. MCCRAW:     Yes, sir.     And we do

18   know that anyone can just walk away.          It's not --

19   this is not a -- there's -- no one is constrained

20   inside.   It's -- the only thing that limits it is

21   transportation.

22                   REPRESENTATIVE PAUL:       Sure.    Well, I

23   think that came up, and it was concerning to me.

24   And if someone felt compelled to do that, leave

25   based on that, then there has to be something that


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 1   drove that conversation or decision.

 2             You raise a good point, and I think that I

 3   did not know it, but this is not your standard state

 4   agency, if you will.      It's not a -- it's a for

 5   profit that has all kinds of different referrals:

 6   Private placement referrals, juvi referrals, county

 7   referrals.    It's not like a traditional -- it's an

 8   RTC license, which I even understand that's got a

 9   little nuance to it that it doesn't fit in there.

10   But it is kind of a voluntary, in some ways.           It's

11   just different than what I think CPS and foster

12   care, in general, has.

13             So you raise a valid point and -- but I

14   would hate for us to miss an opportunity to secure a

15   spot based on a -- based on someone that said we

16   were fearful of it and we didn't follow up on it.

17   So I would just ask that you do follow up on it.

18             Thank you.

19                   COL. MCCRAW:     And, you know, just

20   for -- just as an unsolicited editorial comment is

21   that what they do is God's work, you know,

22   protecting our kids.      It's tough.     Tough business.

23   And you see some nasty stuff, and so. . .

24                   SENATOR KOLKHORST:       Senator Menéndez.

25                   SENATOR MENÉNDEZ:      Thank you, Madam


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 1   Chair.

 2             Col. McCraw, thank you for everything you

 3   do every day to keep many Texans safe and running

 4   the agency you do.

 5             Director, you've mentioned that the charge

 6   most likely will be sexual exploitation of a minor,

 7   possibly child pornography, and that obviously this

 8   will depend on the DA.      My understanding from

 9   reviewing the Attorney General's website, that

10   sometimes these two things can actually tie into

11   trafficking.

12                   COL. MCCRAW:     Yes, sir.

13                   SENATOR MENÉNDEZ:      And so my thought

14   is, when the first call went into the sheriff's

15   office and DPS was made aware on January 24th

16   regarding the photographs that were taken -- and my

17   understanding is that an employee convinced, asked,

18   coerced, I don't know, I wasn't there, somehow got

19   one of these children to take images -- or two of

20   them to take images, then sold them and provided

21   drugs to the children.      Is that your understanding?

22                   COL. MCCRAW:     That's what's being

23   alleged, yes, sir.     And it was, you know, two

24   children.

25                   SENATOR MENÉNDEZ:      Yes.


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 1                   COL. MCCRAW:     Yes, two children.

 2                   SENATOR MENÉNDEZ:      In your

 3   investigation, have you had an opportunity to look

 4   into the relationships between the staff?           My

 5   understanding is there's several members of the

 6   staff who are related and that there are at least

 7   three who are not related but live together.

 8                   COL. MCCRAW:     Yes, sir.     That was that

 9   -- I referenced the second incident occurred on

10   February 20th involving the escape certainly.

11   There's one that was charged that we know, in fact,

12   you know, had knowledge of it, was involved in the

13   escape itself.     The other three are questionable.

14   But there were, as I understand it, relationships,

15   but they were terminated.       You know, two were

16   terminated, one -- one quit.        And I believe there

17   were, as I understand it, relationships that weren't

18   reported.

19                   SENATOR MENÉNDEZ:      And my

20   understanding is that you were asked, I believe, it

21   was on March 10th, you said.

22                   COL. MCCRAW:     March 10th, yes, sir.

23                   SENATOR MENÉNDEZ:      And so in your

24   letter to the governor dated March 16th, I think, I

25   was reviewing it, it said something that you found


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 1   no initial findings.      Is that correct?

 2                   COL. MCCRAW:     That's correct.

 3                   SENATOR MENÉNDEZ:      I think that was

 4   the --

 5                   COL. MCCRAW:     The sexual exploitation

 6   and sex trafficking.      Or sex abuse and sex

 7   trafficking, which is what we were asked to look at.

 8   And except for the one instance that we referenced

 9   in January 24th, it was already being addressed by

10   the Bastrop County Sheriff's office was sexual

11   exploitation of a child or a minor.

12                   SENATOR MENÉNDEZ:      And because these

13   are initial findings, I guess the investigation is

14   still ongoing?

15                   COL. MCCRAW:     Yes, sir.     Until we get

16   the last interview done, I don't want to say it's

17   final because that's -- every interview is

18   important.

19                   SENATOR MENÉNDEZ:      Well, thank you for

20   your answers.    Thank you for being here.

21                   COL. MCCRAW:     Thank you, sir.

22                   SENATOR MENÉNDEZ:      And thank you for

23   getting us informed on this.        Thank you very much.

24             Thank you, Madam Chair.

25                   SENATOR KOLKHORST:       Senator Miles.


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 1                   SENATOR MILES:      Thank you, Madam

 2   Chair.

 3             Col. McCraw, I want to also echo thank you

 4   for all that you do for the State of Texas.

 5                   COL. MCCRAW:     Thank you, sir.

 6                   SENATOR MILES:      I'm always

 7   comfortable, Madam Chair and colleagues, when I know

 8   that our DPS is involved in investigations, and I

 9   commend them across leadership.

10             I've just got three simple questions and

11   just for clarity for myself.

12                   COL. MCCRAW:     Yes, sir.

13                   SENATOR MILES:      I want to thank

14   Senator Menéndez for his line of questioning, which

15   kind of mirrors most of mine.        Three of them were

16   left out, and they're real simple.

17             And one of them is, how is law enforcement

18   notified of a reason or reason to believe

19   allegations, and how does the state agency notify

20   law enforcement?

21                   COL. MCCRAW:     Well, in this instance,

22   they report it directly to the local law enforcement

23   agency.   Certainly, the State has -- you know, we

24   can certainly investigate, but our role is usually

25   supportive in that regard.       And, frankly, it's


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 1   always best to report that to local law enforcement.

 2   And we found that they did in both instances, and

 3   Bastrop County Sheriff's office is aware of these

 4   instances.

 5                   SENATOR MILES:      So would you find it

 6   fair to say that protocol was followed as far as --

 7                   COL. MCCRAW:     Yes, sir.     Yeah.   And

 8   they also notified DFPS.

 9              And if you really look at it, you know,

10   going that extra step with the DFPS, they also

11   forwarded a copy of the incident to the "JSIC,"

12   (phonetic) you know, so an analyst would have access

13   to that information as well.        So we could say even

14   the State had information beyond just DFPS.

15                   SENATOR MILES:      Okay.   Col. McCraw, is

16   there any training of DFPS or HHSC investigators

17   done by DPS or any other law enforcement that you

18   know of?

19                   COL. MCCRAW:     I think the only one we

20   have been involved is the Interdiction of the

21   Protection of Children, which is a -- which is a

22   curriculum that the Department developed to help

23   patrol officers, but others as well to identify

24   indications and indicators of sex trafficking of

25   children and be able to follow up on it.


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 1                   SENATOR MILES:      So there is some

 2   training that --

 3                   COL. MCCRAW:     I believe that we -- we

 4   have some cross-training.       I know when they had, you

 5   know, Commissioner Hank Whitman was there, we had

 6   been involved in some dual training in that regard.

 7   And so we benefitted from them, and I think they

 8   benefitted from us.      And I'm not aware of anything

 9   at this particular moment, but it would not surprise

10   me if there's -- that the IPC curriculum is still

11   ongoing.

12                   SENATOR MILES:      I guess it's safe to

13   say based on your answer, that you don't -- you or

14   DPS, no one at DPS gets an opportunity to review the

15   training provided by DFPS or HHSC to their

16   investigators?

17                   COL. MCCRAW:     No, sir, we haven't done

18   any -- we have not done that.

19                   SENATOR MILES:      Is that something we

20   could consider in the future possibly?

21                   COL. MCCRAW:     If requested,

22   absolutely.    Even by the agency.       We'll be glad to

23   help them.    As we have been asked in the past to

24   help them, we'll be glad to help them in the future.

25                   SENATOR MILES:      I would like to see


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 1   something like that happen, Colleagues, that we get

 2   our DPS and our Rangers under Col. McCraw's

 3   leadership to assist in some training for DFPS and

 4   Health and Human Services.       I think it would be a

 5   move in the right direction for us to -- when we

 6   talk about training.      Nobody to get it from better

 7   than Commander McCraw and DPS and the Texas Rangers.

 8                   COL. MCCRAW:     Yes, sir.

 9                   SENATOR KOLKHORST:       Thank you.

10                   SENATOR MILES:      Thank you.

11                   SENATOR KOLKHORST:       I want to follow

12   up just a second on some questions, the line of

13   questioning of Senator Huffman.        And just on this

14   particular case, I think that you said it -- I don't

15   always hear well in this chamber, but there were

16   several workers in the facility that were related in

17   some way.    Am I correct?

18                   COL. MCCRAW:     It's my understanding

19   there are, yes, relations that were unreported.

20                   SENATOR KOLKHORST:       Okay.   And then I

21   want to ask just in general, when we look at

22   facilities, Senator Perry, there are certain

23   facilities that take only trafficked children.            It's

24   a very specialized treatment.        There were others

25   that take high acuity.      And we can get more into the


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 1   details with that agency.

 2             When you look at trafficked children, much

 3   to what Senator Huffman said -- and I'm sure she has

 4   presided over some of these court proceedings --

 5   it's a sophisticated ring.       Am I right on that?

 6   It's very sophisticated?

 7                   COL. MCCRAW:     It can be, yes.      I'd

 8   almost say it's too sophisticated, because certainly

 9   we know gangs have been involved in exploitive

10   and -- we even know to the point that the centers

11   made here is that they'll set up in juvenile

12   facilities, you know, looking for opportunities to

13   exploit females.

14                   SENATOR KOLKHORST:       And that's a

15   little bit of what I think I was getting to, is that

16   the vetting of people that work at these particular

17   facilities is ultimately important.         Am I correct?

18                   COL. MCCRAW:     Absolutely.

19                   SENATOR KOLKHORST:       And then the

20   vetting of the children that enter the facility, of

21   course, we want those placements, but then I have

22   been told that there are certain activities where

23   children would agree to go into facilities.

24   Potentially.    I'm saying hypothetically.         They're

25   kind of the recruiter in ways.        They're -- we know


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 1   that they infiltrate our high schools.          They

 2   infiltrate other settings.

 3             And so the importance of these particular

 4   settings, when a girl, and unbelievably boys are

 5   trafficked as well, are recovering.         And from what I

 6   have talked about providers, much to what Senator

 7   Huffman said, some of these behaviors are hard to

 8   break and that it takes a long time, over a period

 9   of time of therapy and working with the child to

10   change those behaviors.

11             And so I think just in your opinion and

12   your position and what I think the Texas Department

13   of Public Safety in my estimation is one of the

14   premier law enforcement agencies in the United

15   States, as we look at these facilities to look at

16   this case, but we're really looking at the

17   processes, there's a lot that needs to be considered

18   when you're dealing with these most fragile

19   children.    Is that correct?

20                   COL. MCCRAW:     Yes, ma'am.

21                   SENATOR KOLKHORST:       I think you have

22   said this, but the first notification of these

23   events at The Refuge that your department received,

24   was that March 10th when you were asked?

25                   COL. MCCRAW:     Yes, ma'am.


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 1                   SENATOR KOLKHORST:       Okay.   And prior

 2   to that, local officials had not asked you to step

 3   in?

 4                   COL. MCCRAW:     That's correct.

 5                   SENATOR KOLKHORST:       And that's fairly

 6   normal when you have a facility that is either

 7   located in a city or in a county and, you know, will

 8   find this process from the agency, statewide intake,

 9   there's a report, you know, all the different

10   procedures of DFPS to HHSC, they usually report to

11   the local law enforcement.       Is that correct?

12                   COL. MCCRAW:     Yes.    And the Bastrop

13   County Sheriff's office believed it was an isolated

14   incident related to the January 24th event, and

15   there was -- they didn't ask for additional

16   assistance from the Department of Public Safety.

17                   SENATOR KOLKHORST:       But agencies --

18   our law enforcement, local law enforcement agencies

19   do have the ability to ask for assistance when

20   needed?

21                   COL. MCCRAW:     Absolutely.     And we'll

22   provide it to them upon request.

23                   SENATOR KOLKHORST:       And per your

24   letter, what was first reported last week -- I

25   believe the story broke on Thursday afternoon,


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 1   Thursday evening, that there was an alleged, as you

 2   said, seven children, nine perpetrators and sex

 3   trafficking of the children happening.

 4                   COL. MCCRAW:     Yes, ma'am.

 5                   SENATOR KOLKHORST:       That particular

 6   part of the story per your investigation did not

 7   happen?

 8                   COL. MCCRAW:     No, ma'am.     There was --

 9   as I noted in the letter, there's some material

10   inaccuracies that weren't correct.         And review of

11   the documents, underlying documents would have

12   identified that easily, but certainly the follow-up

13   interview with the DFPS employees were able to

14   confirm that.

15                   SENATOR KOLKHORST:       And then one more

16   question just so we understand the processes.

17             You mentioned in your testimony that from

18   DFPS there was a white paper, something created that

19   goes to the court monitors.        And I know that

20   Commissioner Masters will talk about we are required

21   to report things.     But that there were certain

22   footnotes deleted.     Did you say that?

23                   COL. MCCRAW:     Well, there was

24   annotations, there was caveats that -- in terms of

25   that this information is summary information, this


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 1   information is conjecture by special investigators.

 2   This is unvetted information.        In other words, it is

 3   a draft document, and the author did not intend that

 4   document as written to go to the court monitor

 5   unless -- until it's -- those things had been

 6   addressed.    Instead, what happened was the caveats

 7   were removed and the document was forwarded.           Then

 8   that's why the reports that we received and were

 9   asked to investigate, we were able to determine what

10   we -- I just reported.

11                   SENATOR KOLKHORST:       Thank you for your

12   clarification on that statement.

13             And let me just say in the end, that there

14   obviously was criminal activity in this facility,

15   and, again, any exploitation of any child in the

16   state of Texas is unacceptable.

17             Senator Menéndez.

18                   SENATOR MENÉNDEZ:      Thank you, Madam

19   Chair.

20             I would like to ask a follow-up question.

21             Director McCraw, in your investigation,

22   did DPS review any of the infractions or issues that

23   have happened over the last year at The Refuge?

24   Let's say, have you gone through their file and seen

25   if --


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 1                   COL. MCCRAW:     Yes, sir.     We went

 2   through their files.      We -- for a year we looked at

 3   their files.    We looked at the OIG files for DFPS.

 4   We looked at the special investigator files.           And we

 5   looked -- obviously looked at the case reports from

 6   the Bastrop County Sheriff's office.

 7                   SENATOR MENÉNDEZ:      So following up on

 8   my colleague's questions about vetting employees and

 9   how imperative it is, it is my understanding that

10   the facilities had identified having multiple

11   background check infractions over the last year.

12   Did you find those?

13                   COL. MCCRAW:     We didn't get involved

14   in the background checks in that regard in

15   individual employees, but we know that there were

16   weaknesses there that were identified by DFPS, and I

17   think by The Refuge itself.

18                   SENATOR MENÉNDEZ:      Well, this might be

19   an example of how we need to improve the data

20   systems, because my understanding is that HHSC has

21   declared that one of the employees that was working

22   there was -- once gone through the background check

23   was not supposed to be working at this type of

24   facility at all.

25                   COL. MCCRAW:     Yes, sir, I'm not aware


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 1   of that.    But I would not -- I'm not -- I would not

 2   be surprised.

 3                   SENATOR MENÉNDEZ:      Well, we'll be

 4   happy to help you provide -- connect those dots to

 5   see if that helps with anything else that's going

 6   on.

 7              You mentioned material inaccuracies.          Are

 8   you just specifically talking about the sex

 9   trafficking, or are there any --

10                   COL. MCCRAW:     Yes, sir.     Yes, sir.

11   You can't -- it was alleged sex trafficking.           Some

12   of those things weren't sex trafficking at all.

13   Some of the incidents that were referenced, and when

14   you go back to look at the outtake, it had to do

15   with an employee sleeping on the job or a medical

16   neglect or another negligence report in that regard

17   that had nothing to do with sex trafficking or

18   sexual abuse.

19                   SENATOR MENÉNDEZ:      I see.    All right.

20   Thank you, Director.

21              Thank you, Madam Chair.

22                   SENATOR KOLKHORST:       Senator Creighton.

23                   SENATOR CREIGHTON:       Thank you, Madam

24   Chair.

25              Director, good to have you here.


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 1                   COL. MCCRAW:     Thank you, sir.

 2                   SENATOR CREIGHTON:       I appreciate your

 3   input and always your work on behalf of the State.

 4   Always very impressed with you.

 5             I just -- I had a couple of questions

 6   on -- from a report from the National Human

 7   Trafficking Hotline data that's provided.           It's from

 8   2020.   But it talks about during the lockdowns how

 9   things have evolved over time where the proportion

10   of victims, trafficking victims from common

11   recruitment sites up to 2020, three of the most --

12   the highest propensity recruitment sites were from

13   strip clubs, foster homes and schools.          I was very

14   surprised that those three were at the top of the

15   list, or at least two of the three.

16             And then as a result of the lockdowns,

17   this report from the National Human Trafficking

18   Hotline, the data provided shows through an analysis

19   that the way things have evolved, recruitment from

20   2020 from strip clubs was down 46 percent, from

21   foster homes was down 70 percent, and from schools

22   was down 38 percent, but there was a 120 percent

23   increase on social media sites.

24             So I was just going to ask along those

25   lines, how has the Department modified its


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 1   investigation, strategies and priorities to shift

 2   towards social media?      Or assuming for many years

 3   you've had sort of a dual prioritization there on

 4   top propensity recruitment sites, physical sites and

 5   social media, how has that evolved over time, and

 6   how do you handle things now for social media on

 7   human trafficking?

 8                   COL. MCCRAW:     Well, our priorities

 9   remain the same.     We have resources dedicated to sex

10   trafficking investigations and we do an ongoing

11   child sex trafficking investigations.          And the

12   criminal element just modifies their technique of

13   communicating, and social media is something even

14   the cartels are using right now to recruit, for

15   example, smugglers or drivers to support their

16   criminal operations.

17              So it's -- they used to do it different

18   ways.    They used to recruit our kids in the schools

19   in the Rio Grande Valley and along the border.            Now

20   they -- they simply use social media to reach out,

21   because they have run out of drivers to San Antonio,

22   Houston with the promise of lots of money.

23   Similarly, gangs are very adept at using social

24   media.    So it's a different platform to communicate,

25   and, of course, it provides an opportunity for those


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 1   that want to exploit children or others for sex

 2   purposes to recruit individuals and identify

 3   individuals to be recruited.        And so we're always

 4   mindful of those things.

 5             We've talked about it before, whether

 6   we're talking about threats of life or threats to

 7   our children when -- from sexual predators, we would

 8   love to have a greater level of cooperation from the

 9   social media companies simply because they're some

10   very smart people, have great capabilities, and

11   unlimited resources to be able to develop the type

12   of algorithms that would identify things that can

13   help law enforcement, one, identify potential

14   victims and rescue them, but also target criminal

15   networks that are exploiting social media and that

16   networks to be able to engage in criminal activity.

17                   SENATOR CREIGHTON:       I appreciate

18   that -- I just -- I appreciate the explanation and

19   some of the insight into how priorities and

20   strategies and investigations by the Department

21   evolve, especially with the higher uptick on the

22   social media recruitment.

23             The schools component of the recruitment

24   was very surprising to me, probably not to you.

25                   COL. MCCRAW:     Well, you no longer have


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 1   to stay around a playground, okay, or shopping malls

 2   or schools or recruit when you can do it on social

 3   media.   And that's the -- that's the insidious

 4   nature of it and the concern that all parents ought

 5   to have.

 6                   SENATOR CREIGHTON:       The second point

 7   from the data provided in this analysis was that in

 8   2020, the proportion of victims recruited by a

 9   caregiver increased significantly from 21 percent of

10   all human trafficking victims in 2019 to 31 percent

11   in 2020, which was a 47 percent increase in one year

12   for caregivers to be leading in this recruitment for

13   human -- ultimately what would be a human

14   trafficking victim.

15              So with regard to The Refuge and with our

16   discussion today related to investigations in

17   general, we've talked about -- we've talked about

18   CPS and investigation priorities and the difference

19   between how we appropriate and direct by proxy and

20   then how they have substrategies within their agency

21   for the priorities and how they deploy funds for

22   those purposes.

23              My last question is, assuming that that

24   state agency does not have the skills or the

25   effectiveness in carrying out an investigation that


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 1   your department does, because you're the best of the

 2   best, is there any collaboration, is there any -- is

 3   there any upside to considering the training that

 4   Senator Miles mentioned, looking into their

 5   effectiveness as investigators compared to your

 6   effectiveness as carrying out an investigation and

 7   collaborating between the two?        Knowing that your

 8   plate is full, but could there be someone available

 9   to assist with that effort?

10                   COL. MCCRAW:     Yeah, certainly training

11   is the -- we work with our local partners to assist

12   in training, and that's certainly an expectation.             I

13   think part of the public safety that has been levied

14   upon us by the state leadership and the legislature,

15   you expect us to be team players do that, and we

16   would be willing to do that.

17                   SENATOR CREIGHTON:       Thank you.

18              Thank you, Madam Chair.       Thank you,

19   members.

20                   SENATOR KOLKHORST:       Thank you,

21   Director McCraw.     We appreciate you being here

22   today.

23              Senator Eckhardt, one question.

24                   SENATOR ECKHARDT:      Just one.     And

25   thank you so much for being here.


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 1             I was wondering, in the spirit of that

 2   kind of collaboration that Senator Creighton was

 3   mentioning, would you have any recommendations with

 4   regard to vetting of employees for specific

 5   populations such as sex trafficked foster children?

 6   I understand that the usual background check, just

 7   looking at previous criminal behavior, may not be

 8   sufficient, and I was wondering if you had any

 9   suggestion.

10                   COL. MCCRAW:     Well, we use -- you

11   know, I know that people don't want to hear it, but

12   certainly, we do the fullback ground investigation,

13   we do the neighborhoods, we do the traditional

14   things you would expect, and certainly the

15   fingerprint biometric check along these lines,

16   but -- and I don't -- it's not a very popular thing

17   to say, but we use preemployment polygraphs.           And

18   there's a reason for it.       And I couldn't tell you

19   how many criminals that are -- that wouldn't --

20   would have been if not for, you know, the

21   preemployment polygraph that could be employed by

22   the Department of Public Safety.         And they were

23   criminals and they had engaged in some despicable

24   criminal activity.     But if not for, we wouldn't have

25   identified it.


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 1             So that's something that I throw out.

 2   It's not easy to put a program in place, but if

 3   you're a police department and not using such a

 4   program, you become a magnet for those that failed

 5   it elsewhere.

 6                   SENATOR KOLKHORST:       Thank you.

 7             To end this, Colonel, working on this

 8   particular subject matter with residential treatment

 9   centers and the highest acuity rates are most

10   exceptional children, there has been a trend in the

11   past where we did not stop children from walking out

12   of a residential treatment center.         It was like we

13   couldn't touch them.      We would allow them to leave.

14   And some facility operators would say, "Well, they

15   might be gone for a day or two, but they'll come

16   back for a hot meal."      There is nothing good when we

17   don't know where a child is.        Would you agree?

18                   COL. MCCRAW:     Oh, absolutely.      Too

19   many people that seek to exploit them.

20                   SENATOR KOLKHORST:       So the importance

21   of keeping a child at a center -- and I know that

22   all of you look at me, like, could we really be

23   doing that.    There was a trend, there was a judge

24   one day that told our commissioner -- not this

25   commissioner -- that you could not lay a hand on the


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 1   child from leaving the facility.         Senator Menéndez

 2   knows that.    And I just think that the importance of

 3   us looking at how we keep children safe is that you

 4   can't let them walk out of a facility either and not

 5   know where they are.

 6                   COL. MCCRAW:     Yeah, and I don't have

 7   the core competence or expertise just except being a

 8   father and grandfather, I would, you know, also

 9   obviously feel strongly about that.         But as a

10   professional, I can't really comment from an expert

11   standpoint.

12                   SENATOR KOLKHORST:       Thank you.    We

13   appreciate you being here.       And thank you for the

14   work and the service of your agency.

15                   COL. MCCRAW:     Thank you.     Appreciate

16   it.

17                   (Concluded.)

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 1                   REPORTER'S CERTIFICATION

 2

 3

 4                   I, CHRISTY R. SIEVERT, CSR, RPR, in

 5   and for the State of Texas, hereby certify to the

 6   following:

 7             That the proceedings were transcribed by

 8   me from audio recordings, and is a true record of

 9   the proceedings had;

10             I further certify that I am neither

11   counsel for, related to, nor employed by any of the

12   parties or attorneys in the action in which this

13   proceeding was taken, and further that I am not

14   financially or otherwise interested in the outcome

15   of the action.

16             Subscribed and sworn to on this the 28th

17   day of March, 2022.

18

19

20                               ____________________________
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21                               Texas CSR 8172
                                 Expiration Date: 4-30-2023
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                          STATE OF TEXAS

           THE HOUSE COMMITTEE ON HUMAN SERVICES



                         87TH LEGISLATURE



                          MARCH 21, 2022



               EXCERPTS OF THE COMMITTEE HEARING



    TESTIMONY OF DEPARTMENT OF PUBLIC SAFETY DIRECTOR

                        COL. STEVEN MCCRAW
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 1                   REPRESENTATIVE FRANK:       The Chair calls

 2   up Col. Steve McCraw, director of the Department of

 3   Public Safety.

 4             I know you're an expert at this, but

 5   please state your name and who you represent.

 6                   COL. MCCRAW:     Chairman and

 7   Representatives, Steve McCraw, director of the Texas

 8   Department of Public Safety.        Thank you for the

 9   opportunity to testify before you today.

10                   REPRESENTATIVE FRANK:       Thank you.

11   Thank you for being here today.

12                   COL. MCCRAW:     The Department's

13   involvement began with the governor-directed action

14   back on March 10th.      He wanted to ensure that the

15   Department investigate fully all sex allegations or

16   reports of sex trafficking and sexual abuse at the

17   shelter Refuge center in Bastrop County, which was

18   contracted -- or the Department of Family and

19   Protected Services had contracted with to care for

20   children in their custody.

21             We sent a team of Texas Rangers

22   immediately to Bastrop County.        We set up a command

23   post and worked the allegations.         We interviewed the

24   victims at the -- and when I say "victims," victims

25   in the sense that they're there because they're


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 1   victims at the shelter, the residents.

 2              We interviewed DFPS employees, certainly

 3   and Refuge employees, and, of course, reviewed the

 4   Bastrop County investigative files as we were going

 5   through the course that were seen in terms of abuse

 6   or any misconduct by Refuge employees in Bastrop

 7   County.

 8              I can tell you that the -- well, certainly

 9   the sheriff's office has been very cooperative and

10   everyone has been cooperative of this particular

11   investigation.

12              We've noted there was two major instances

13   of misconduct.     Very disturbing.      Obviously, the

14   first, and I would say most disturbing -- all of

15   them are disturbing anytime you get any allegation

16   of misconduct by an employee that's overseeing

17   children.    And the first one was the idea that an

18   employee at The Refuge had taken or been involved in

19   the negotiation of getting nude photographs of two

20   of the residents, minor females at this location,

21   and was in the process or involved in exchanging

22   those nude photographs, okay, for money and/or

23   drugs.    That's alleged in the last part right now.

24              This employee was confronted immediately

25   when the outcry occurred by The Refuge.          She was


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 1   terminated at that point in time.         It was reported

 2   in a timely manner to the Bastrop County Sheriff's

 3   Department.    They have been conducting an

 4   investigation since that date, which was

 5   January 24th when the outcry occurred.

 6             During the course of their investigation,

 7   which we reviewed, clearly, there is -- there's

 8   evidence and probable cause to believe that that

 9   Refuge employee was involved in the sexual

10   exploitation of a child, two minors specifically.

11   Also that she provided, you know, false information

12   during the course of an official investigation.

13             So those things are being investigated

14   right now.    An arrest has not been made for that

15   violation.    And when I say "the violation," meaning

16   the sexual exploitation of a minor at this point.

17   They're awaiting some electronic information.            When

18   they get that back, there's an expectation -- and

19   we're working with Sheriff Maurice Cook as well to

20   provide whatever support that he may need on the

21   investigation to be able to charge that individual

22   with the sexual exploitation of a child and,

23   possibly, depending on the prosecuting attorney, you

24   know, child pornography.

25                   REPRESENTATIVE FRANK:       And so just to


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 1   be clear, this was reported by the agency, or is

 2   this -- excuse me -- by The Refuge immediately, or

 3   is this something you discovered during your

 4   investigation?

 5                   COL. MCCRAW:     It was immediately

 6   reported by The Refuge both -- both to DFPS and to

 7   the Bastrop County Sheriff's Department as required

 8   by law.

 9                   REPRESENTATIVE FRANK:       And the

10   employee -- and the employee was terminated, then?

11                   COL. MCCRAW:     Immediately, yes, the

12   employee was terminated.

13                   REPRESENTATIVE FRANK:       And this

14   surprised me, though, but this employee has not been

15   arrested yet?

16                   COL. MCCRAW:     Correct.

17                   REPRESENTATIVE FRANK:       The

18   investigation is still going on, but they have not

19   actually been --

20                   COL. MCCRAW:     Well, there's -- yeah,

21   the one charge, you know, pending the employee --

22   what the employee was charged is providing a false

23   report to a police officer -- or to a law

24   enforcement agency.      So that is still outstanding.

25   Okay.   And, again, it goes back to, you know, the


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 1   agency feeling it has reached the necessary

 2   information to prosecute the particular case and

 3   justify that before the prosecuting attorney.            We're

 4   confident that that person will be charged with the

 5   two violations that I'm talking about as soon as

 6   they add that last piece of --

 7                   REPRESENTATIVE FRANK:       Did y'all look

 8   at whether or not the employee had been background

 9   screened?    Did they ignore a background screen,

10   or. . .

11                   COL. MCCRAW:     They have a background

12   screening process.     Okay.    So it was -- they use on

13   their employees.     We can all debate, well, that's

14   something that policy can -- certainly policy

15   professionals like yourself get to oversee and see

16   is it to the level that you deem appropriate for a

17   particular agency entrusted with children.

18                   REPRESENTATIVE FRANK:       Okay.    Thank

19   you.

20                   REPRESENTATIVE ROSE:       Chairman.

21                   REPRESENTATIVE FRANK:       I'm sorry,

22   Representative Rose.

23                   REPRESENTATIVE ROSE:       You opened it

24   up, so I just want to kind of piggyback on that,

25   because I'm really confused about the nonarrest.


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 1                   COL. MCCRAW:     What now?     I'm sorry?

 2                   REPRESENTATIVE FRANK:       About the

 3   nonarrest.

 4                   REPRESENTATIVE ROSE:       I'm confused

 5   about the nonarrest.      And you said that you-all are

 6   waiting.   I mean, if it's already been determined

 7   and you have evidence that these things have

 8   happened, I'm just really unclear about why this

 9   person has not been arrested.

10                   COL. MCCRAW:     Well, the last piece of

11   information, okay, which is important, is that

12   exchange that -- which will come with the electronic

13   data, the digital evidence.        So, you know, it's --

14   law enforcement can be -- you know, we're in a

15   position to make the case to the prosecuting

16   attorney, but in the end they get to decide when

17   charges can be filed or not.        And I'm quite

18   confident they will be, but we're waiting to the

19   return -- they're waiting for a return on the

20   subpoenas for the digital information that will

21   prove that, in fact, this person did exchange that

22   data, number one.     And also the paid part, that

23   there was money that was exchanged.         And that's the

24   requirement right now.

25                   REPRESENTATIVE ROSE:       So, basically,


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 1   you don't have the photo?

 2                   COL. MCCRAW:     No, I didn't say that.

 3   I didn't say that.

 4                   REPRESENTATIVE ROSE:       There was

 5   data -- well, you're saying digital, so that's

 6   why --

 7                   COL. MCCRAW:     I said digital evidence.

 8   There's not -- not just a photo is digital evidence.

 9   Also the method of payment, how the payment was

10   made.    There's a number of different things that are

11   outstanding right now.

12                   REPRESENTATIVE ROSE:       Okay.    I'm

13   still --

14                   COL. MCCRAW:     Just because an

15   investigative agency believes we have met the burden

16   of probable cause doesn't mean a prosecuting

17   attorney has.    I'm not saying that's the case in

18   this.    We get to present the evidence and try to

19   fulfill all the requirements that meet the

20   reasonable suspicion standpoint or probable cause

21   standard that all the elements of the offense in the

22   statute have been met.

23              And that's usually an ongoing situation,

24   and we understand that the -- it's -- where our

25   place in that role is.      And I'm not quite confident


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 1   that evidence -- we'll be able to present the

 2   evidence that they need to be able to prosecute this

 3   case.   I'm quite confident.

 4                   REPRESENTATIVE ROSE:       And I totally

 5   understand that, Colonel, but I guess when you look

 6   at any other cases where there's been some type of

 7   child exploitation, that, you know, people are

 8   arrested immediately.      And here we are, State

 9   agencies are involved with this, and this person is

10   still running -- I mean, are still out there and has

11   not been arrested when this offense has occurred.

12                   COL. MCCRAW:     Yeah, well, like I said

13   before, is that we get to -- you know, we're one

14   part -- we're an important part of the criminal

15   justice system, but we're -- we don't decide on

16   what's prosecuted on.      We have a burden to be able

17   to provide the evidence --

18                   REPRESENTATIVE ROSE:       I'm not

19   necessarily just talking about your office.           I mean,

20   you're the one who's presenting the information.            So

21   I'm just -- you know, just curious as to, again, why

22   this --

23                   COL. MCCRAW:     I'm just saying the

24   sheriff's office --

25                   REPRESENTATIVE ROSE:       -- person has


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 1   not been arrested.

 2                   COL. MCCRAW:     Yeah, well, the

 3   sheriff's office has the same standard that we do.

 4                   REPRESENTATIVE ROSE:       So are y'all

 5   working together?

 6                   COL. MCCRAW:     Well, we're supporting

 7   the sheriff in any way he needs, and we'll continue

 8   to help him on this case.       But quite frankly, the

 9   sheriff has investigators that have done a very good

10   job in responding, and they've done all the basic

11   investigative steps necessary to be able to identify

12   all the elements of the offense.         And I think they

13   have done a very good job in documenting that.            And

14   we're confident that that exists, that employee was

15   engaged in that misconduct, and that employee should

16   be charged and should be arrested and should face

17   trial for the two violations, at least the two

18   violations that I have talked about.

19                   REPRESENTATIVE FRANK:

20   Representative --

21                   REPRESENTATIVE ROSE:       I don't have

22   anymore.

23                   REPRESENTATIVE FRANK:       Sure.

24              Representative Noble.

25                   REPRESENTATIVE NOBLE:       Thank you,


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 1   Mr. Chairman.

 2             Okay.    So this was -- the outcry was on

 3   January 24th?

 4                   COL. MCCRAW:     Correct.

 5                   REPRESENTATIVE NOBLE:       And so here we

 6   are, you know, a couple of months later.           Is there

 7   anything that would keep this person from going and

 8   getting a job with other children at this point if

 9   there has not been an arrest?

10                   COL. MCCRAW:     Well, it depends on the

11   agency.   I would imagine.      Each individual agency

12   has its own requirements.       But, certainly, I think

13   anybody that would conduct a background

14   investigation, even the most cursory one right now,

15   cursory background investigations would be able to

16   identify that this individual has been -- you know,

17   has not been arrested but this individual has been

18   identified as a subject of an ongoing investigation.

19   I think with the data that's available, there's

20   certainly that opportunity.        From a department

21   standpoint, if you're asking us from a policy

22   whether a department would hire anybody along those

23   lines, would we be able to detect it, I'm confident

24   that we would be able to.       Is it possible that

25   others would not?     Absolutely.


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 1                   REPRESENTATIVE NOBLE:       I'm just

 2   thinking of, you know, a daycare or something and

 3   not knowing, not --

 4                   COL. MCCRAW:     Absolutely.     I don't --

 5   I don't disagree with that.

 6                   REPRESENTATIVE NOBLE:       -- without an

 7   arrest on your -- okay.

 8                   COL. MCCRAW:     And -- and quite

 9   frankly, you require, you know, bus drivers to get a

10   criminal fingerprint checked through the FBI, and we

11   do those.    So even -- you know, there's certain

12   positions that are given a position of trust, and a

13   background investigation is understandable and why

14   you would want that and why the Texas Legislature

15   has been insistent upon certain positions having

16   that requirement.

17                   REPRESENTATIVE FRANK:       Okay.    Thank

18   you very much.

19             Yes, Representative Hull.

20                   REPRESENTATIVE HULL:       What was the

21   date that y'all -- DPS got involved?

22                   COL. MCCRAW:     March 10th.

23                   REPRESENTATIVE HULL:       So prior to

24   that, it was just Bastrop County Sheriff?

25                   COL. MCCRAW:     Correct.


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 1                   REPRESENTATIVE FRANK:       All right.

 2   Thank you.

 3              All right.    Go ahead.

 4                   COL. MCCRAW:     The second concern that

 5   relates to misconduct occurred -- or was reported an

 6   outcry on February 20th.       It involved the escape or

 7   fleeing of two of the residents.         And the allegation

 8   was that a Refuge shelter employee assisted and

 9   facilitated that escape, and that, in fact, did

10   occur.   And there may be additional charges down the

11   road, but that there was one charge.          An arrest was

12   made for providing false information, okay, to the

13   Bastrop County Sheriff's Department.          That arrest

14   has been made, but, again, there may be additional

15   charges.    We're working with the Bastrop County

16   Sheriff's Office Department right now on that

17   particular.

18              There were a number of other allegations

19   that were made, and, of course, there was some

20   inaccuracy -- some of what we would call some

21   betrayal and inaccuracies that were reported in a --

22   just a document that was designed to be a summation

23   by someone that worked for the Department of Family

24   and Protective Services.       And that summation was

25   done late at night, and, arguably, there was some


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 1   unvetted information that was incorporated into it,

 2   but there was -- it had many caveats in terms of

 3   that's what this is, unvetted information, or more

 4   follow up needs to be done or a draft.          And those

 5   things, unfortunately, were removed, and it was

 6   reported as the basis of fact, okay, a document to a

 7   court monitor that reports to the federal judge that

 8   oversees, okay, the Department of Family and

 9   Protective Services and State programs as it relates

10   to children.

11             And so needlessly to say, when that was

12   reported on the 10th -- so the document was written

13   at 1:00 in the morning and reported to the court

14   monitors on the 10th, and the hearing happened on

15   the 10th.    So all of that quickly happened.         And, of

16   course, as you can imagine, there was many

17   allegations of ongoing sex trafficking, sexual abuse

18   of the residents out at The Refuge shelter.

19             And, of course, after a thorough and

20   exhaustive investigation and deconflicting three

21   different systems that DFPS has, CPS has, HHS has,

22   going through it, listening to recordings, which is

23   necessary to do because sometimes there's a -- you

24   know, what is reported as an allegation and it turns

25   out that it's not really an allegation of it, it's


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 1   an allegation of sleeping on the job versus sex

 2   trafficking, big difference, it's important to get

 3   the facts.    It's important to report back to you

 4   some -- with a certain degree of certainty, that --

 5   I can say that we identified no instances of --

 6   outside what I've already mentioned, which was

 7   sexual abuse of a minor, but no instances of sexual

 8   assault or sex trafficking of residents or any

 9   children at that location.

10                   REPRESENTATIVE FRANK:       Yeah.    Oh, I'm

11   sorry.    Vice Chair.

12                   REPRESENTATIVE HINOJOSA:        So director

13   I'm very confused because I listened to the -- I

14   have a timeline from DFPS and I watched the entirety

15   of the Senate hearing just a couple of days ago.

16   And -- well, for one, let me start with this.

17              In your letter you say there is, "No

18   evidence that any of the residents of The Refuge

19   have ever been sexually abused or trafficked while

20   at the shelter."

21              Is it not sexual abuse to take nude photos

22   of minors and sell those photos, traffic those

23   photos?    Is that not sexual abuse?

24                   COL. MCCRAW:     I certainly consider it.

25   It's certainly the sexual abuse of a minor.           I would


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 1   say that the allegations as it relates to sexual

 2   abuse is in the context of -- or rape or trafficking

 3   or for pay or rape of the minors at the particular

 4   facility.

 5                   REPRESENTATIVE HINOJOSA:        But it is a

 6   form of sexual abuse to take --

 7                   COL. MCCRAW:     Absolutely.

 8                   REPRESENTATIVE HINOJOSA:        -- photos

 9   and --

10                   COL. MCCRAW:     It's -- misconduct is

11   the way the statute reads, but absolutely.

12                   REPRESENTATIVE HINOJOSA:        And the

13   other thing, so we have a situation where there were

14   eleven kids at The Refuge.       We have outcries

15   according to the testimony from DFPS in the Senate

16   and according to the timeline provided to us from

17   DFPS, outcries from six children out of the 11, one

18   of whom said the boyfriend of the perpetrator who

19   took the nude photos had previously trafficked her.

20   Another who -- and this is a quote that I wrote down

21   from the Senate hearing.

22             So it was on 2/28.       There was an outcry

23   from a child.    And this is -- this came from

24   Commissioner Masters in the Senate hearing where --

25   and it's on our timeline, 2/28/22, where a child


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 1   reported being trafficked, being trafficked at the

 2   time, and what was -- and who the trafficker was,

 3   and asked the reporter what they were going to do

 4   about it.

 5             So we have -- that's an allegation of --

 6   and so I would think that's evidence.          Certainly

 7   more needs to be looked into there, but I'm hearing

 8   a different conclusion from you than I'm hearing

 9   from DFPS to agencies within our administration

10   here, and we're all just trying to assess out what

11   really is the case.

12             And the other thing that we heard from

13   our -- from the testimony is that on 2/1, the agency

14   confirm that the director of The Refuge was aware

15   and did her own private investigation and never

16   reported this to statewide intake.         That's at least

17   the way I understood it from the Senate hearing.

18   You testified that it was timely reported.

19             And so I'm trying to figure out what's up

20   with the discrepancies, and if you have reason to

21   doubt the investigation of DFPS, and, if so, if you

22   could share with us why.

23                   COL. MCCRAW:     Well, we -- I'm not

24   going to -- I don't want to cast dispersions on any

25   agency, especially one that has such an important


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 1   mission and does such a tremendous job in so many

 2   things and so many challenges, but we do investigate

 3   for a living at Texas Department of Public Safety.

 4   I'm quite confident when our Ranger team came up

 5   with -- I can go down the timeline with you.           It

 6   might be helpful.     I know that it was reported --

 7   there was multiple sources that must be reviewed to

 8   get an accurate picture of the allegations;

 9   otherwise, you're just shooting from the hip.            And,

10   of course, there's three different systems that I

11   referred to.

12             You know, at DFPS, of course, certainly

13   call version 1.0 in terms of impact.          You know, 2.0,

14   1 and 2.1, they've got a version 2, and they've got

15   also a class database at HHSC.        And, of course, any

16   one of those could have intakes.         An intake to them

17   is like a complaint or someone who's alleged an

18   allegation in that regard.

19             After reviewing all of those records in

20   the above systems, you know, certainly from 1/24 to

21   3/10, we looked at the records from -- that we got

22   on the same date, and including the supporting

23   documentation.     And one thing you note is that Iesha

24   Greene was not immediately terminated.          Well, as

25   the -- when it was brought to their attention.


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 1   Well, actually, she was by telephone.          I mean, by

 2   documents -- if you look at The Refuge documents, it

 3   clearly documents that she was terminated by

 4   telephone.    It wasn't -- it wasn't at the facility

 5   when they -- the outcry came to the -- to the

 6   attention of the representatives there, and she was

 7   never let back on -- and she was banned from the

 8   property in that regard.       So not just technically,

 9   but actually she was terminated at the time.           So

10   that was an accurate statement.

11             The Refuge was aware of allegations that

12   allowed children to remain supervised by suspected

13   staff, thereby continuing to expose the children to

14   possible offenders and compromising their safety.

15   That's a serious concern, obviously.

16             And as explained above Iesha Greene was

17   terminated by phone the same day, and that all, you

18   know, of the five suspected to be involved in the,

19   we'll call the -- the incident that -- involving the

20   escape or fleeing of two -- of two individuals,

21   three were confirmed to be involved were terminated

22   or resigned.    And none of the suspected employees

23   had contact with the juvenile residents at The

24   Refuge after allegations were reported.

25             On February 26th, they have an intake


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 1   number, and we were advised that her report was not

 2   accurate on DFPS intake record.        It was a

 3   misrepresentation of what she was reporting.           And

 4   also we're advised that -- in the interview that she

 5   did not know if Greene's family was involved and

 6   that no knowledge of continued abuse at The Refuge,

 7   which was an allegation that was made.

 8             And, of course, as a result of these

 9   discrepancies that we were advised, that what was

10   entered onto the record was incorrect.          And, of

11   course, you know, we asked for and looked at

12   importantly, you know, audio recordings to be able

13   to able to listen to it to see, you know, what is

14   right, was -- is it the witness or is it the

15   document itself?     And, of course, the audio

16   recordings and the intakes made -- we reviewed

17   from -- and, of course, it supported the fact that

18   that did not occur.

19             The results of talk -- six intakes

20   involved in the alleged circulation of nude photos,

21   the juveniles, okay, were -- we looked at -- we

22   actually found eight intake reports, and two of

23   those were case entries referencing allegations of

24   nude photos, but it was the same incident.           It

25   wasn't a different incident.        It was the exact same


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 1   incident.

 2             On February 26th, there's discussion of an

 3   intake, an alleged fired staff member was involved

 4   in sex trafficking of children.        It was a continued

 5   abuse of children that was being reported by staff

 6   related to the terminated employee, and the sick

 7   child was not allowed medical attention.           If you

 8   review the intake, the actual report that was

 9   reported that was involved in posting nude photos,

10   it was the same one on the sex that we had -- I had

11   previously discussed.      When interviewed, the female

12   victims did not report the involvement of any other

13   staff other than the one individual that we talked

14   about before.

15             And on the 19th, we interviewed the former

16   employee, Elizabeth, who made the report to DFPS

17   intake, and according to her she doesn't have any

18   knowledge about Greene's family members being

19   involved or any allegations of continued abuse by

20   staff after the Greenes' termination of 1/24, which

21   is the date we talked about in terms of when the

22   outcry occurred.

23             According to -- at the time, the

24   Rangers -- the narrative in the intake was not

25   accurate when she said -- when she reported and when


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 1   she called on the hotline.       A supervisor and her

 2   manager was reported, were terminated for ignoring

 3   repeated alarms raised by a foster care abuse

 4   investigator about the conditions of The Refuge.            We

 5   have not been provided any information thus far to

 6   support that statement.       We have a request for, you

 7   know, additional information, but there's nothing to

 8   support it at this particular time, none of the

 9   interviews of all the individuals we have talked

10   about and -- or residents at the -- at the facility.

11             There was an allegation arose, was

12   reported, an allegation arose during the hearing

13   that one of the runaways ran from The Refuge because

14   she was afraid by retaliation of cartel members for

15   impending -- and this is for impending -- the

16   upcoming testimony she was going to be providing in

17   an FBI investigation.

18             She -- we did, in fact, have an

19   opportunity to interview her, and she did not

20   express fear of retaliation by cartel members.            She

21   just stated to the investigator that she was -- she

22   ran because she doesn't want to testify in the

23   upcoming trial, not that she was threatened by

24   Mexican cartels.     And there's no information to

25   support that she felt in fear of being attacked or


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 1   retaliated by cartel members or her family and

 2   certainly not while she was at The Refuge.           So that

 3   tracks the -- the timeline.        And I could certainly

 4   go into more details if you would like.

 5                   REPRESENTATIVE HINOJOSA:        Well, I

 6   would like to know specifically about the allegation

 7   on 2/28 or the outcry from the minor that she was

 8   being trafficked, who her trafficker was and what

 9   were we going to do about it.        Can you specifically

10   speak to that one?

11                   COL. MCCRAW:     The -- well, first of

12   all, I've got to make sure that we're talking about

13   the exact same one.      But right now what I can tell

14   you is that we did look at all of the intakes and --

15   including the one on the 26th that was -- it was

16   reported by an employee that this was occurring, and

17   according -- according to that employee did not

18   occur.

19                   REPRESENTATIVE HINOJOSA:        I'm sorry,

20   according to the employee what?

21                   COL. MCCRAW:     It didn't occur, that

22   she didn't report it that way, and it was a

23   misinterpretation of what she said, referring to the

24   family was involved.

25                   REPRESENTATIVE HINOJOSA:        Okay.    But


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 1   I'm speaking of one on 2/8.

 2                   COL. MCCRAW:     2/8?

 3                   REPRESENTATIVE HINOJOSA:        Right.

 4   February 8, 2022.

 5                   REPRESENTATIVE FRANK:       And y'all may

 6   not be looking at the same --

 7                   COL. MCCRAW:     Yeah, we may be looking

 8   at -- all I -- all I can tell you, Madam Vice Chair,

 9   is this, is that we looked at every allegation,

10   intake and every report there was inconsistencies.

11   Some were duplicative and some were

12   misrepresentations.      And all I can tell you is that

13   based upon our interviews of the, one, residents,

14   very important, okay, and, two, looking at all the

15   information, that there was no -- other than the two

16   incidents that I've talked about, those were the --

17   those are the instances in terms that have related

18   to the -- we'll call it the sexual abuse or

19   misconduct of children.

20             Now, granted the second one that was

21   relayed on February 20th was the escape of and

22   didn't involve, then, in the -- the two residents

23   that were eventually recovered, didn't report any

24   allegations of sexual assault or sexual abuse, why

25   they were -- why they escaped, fortunately.           But,


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 1   you know, there is no other instance or information

 2   to support any allegation.

 3                   REPRESENTATIVE HINOJOSA:        Yeah.

 4                   COL. MCCRAW:     And I would -- we

 5   certainly will welcome anything that contradicts

 6   that and look at anything and any suspect, and I can

 7   assure you, if we find anybody that has in any way,

 8   shape or form abused, enticed, misused, sexually

 9   subdued or harmed a child in any way, shape or form

10   and there's evidence to support it, we'll make an

11   arrest.   Make no -- we do that routinely.          And we

12   have no qualms about it, I can assure you.

13                   REPRESENTATIVE FRANK:       I was just

14   going to -- you have used the word -- Colonel, you

15   have used the word "escape" a number of times.

16   These are girl -- the girls are mostly here

17   voluntarily, are they not?       Or are they -- this is

18   not a prison, right?

19                   COL. MCCRAW:     No.

20                   REPRESENTATIVE FRANK:       So is there --

21   I'm trying to understand the word "escaped."

22                   COL. MCCRAW:     Well, flee.     They were

23   put there by DFPS there.       Now, one of them wasn't.

24   One of them was there -- put there as a result of

25   the federal system, but still they --


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 1                   REPRESENTATIVE FRANK:       Okay.    So they

 2   were --

 3                   COL. MCCRAW:     -- left the place

 4   without authorization.

 5                   REPRESENTATIVE FRANK:       Okay.    Without

 6   their -- of their legal --

 7                   COL. MCCRAW:     Exactly.

 8                   REPRESENTATIVE FRANK:       It is -- it

 9   is -- okay.    I was just trying to make sure, because

10   some of the --

11                   COL. MCCRAW:     They can't escape.       It's

12   not a prison facility, but I would say that, you

13   know, they fled the location.

14                   REPRESENTATIVE FRANK:       And it was

15   assisted.    So that also. . .

16                   COL. MCCRAW:     Yes.

17                   REPRESENTATIVE FRANK:       I'm sorry, Vice

18   Chair, and then I'll get to you.

19                   COL. MCCRAW:     And, Vice Chair, you're

20   probably referring to the girl who said she was

21   trafficked by a boyfriend several years prior to and

22   she was actually in jail.

23                   REPRESENTATIVE HINOJOSA:        That's

24   another one.

25                   COL. MCCRAW:     Yeah, that was a


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 1   different one.     Well, that -- that one, you know, we

 2   were able to go back and look at when the

 3   allegations were made and the individual the

 4   allegations were against, and this individual was in

 5   jail 80 percent of the time those allegations were

 6   made.   So. . .

 7                   REPRESENTATIVE HINOJOSA:        So are you

 8   talking about --

 9                   COL. MCCRAW:     But I'll be glad to look

10   at -- we'll look at -- like I said, we'll look at

11   anything, you know, and any -- at anytime, and I'm

12   quite confident that we'll -- we'll meet your

13   expectations in terms of resolving it.

14                   REPRESENTATIVE HINOJOSA:

15   Specifically, if you -- and so let me understand the

16   extent of the Rangers' investigation.          We know the

17   Bastrop Sheriff's office -- we know DFPS has done an

18   investigation.     And let me say, I'm a lawyer.         I

19   know there's a different standard for criminal --

20   for a crime versus a determination made by DFPS.

21   And so maybe there's -- y'all are looking at a

22   different standard to prove up in court.

23             But there are two -- I heard from the

24   agency also that the perpetrator who sold the photos

25   of our girls naked, we trafficked those photos, that


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 1   her boyfriend, there was an outcry by one of the --

 2   the minors that her boyfriend had trafficked her

 3   supposedly in the past.

 4                   COL. MCCRAW:     Correct.

 5                   REPRESENTATIVE HINOJOSA:        In addition

 6   to this other outcry of a minor who said, "I'm being

 7   trafficked.    This is who did it.       What are you going

 8   to do about it?"     And so did your office separately

 9   interview employees and the minors, or are you

10   relying on the sheriff's interviews and you're

11   looking at the notes from the sheriff's interviews?

12   Or what does that look like?

13                   COL. MCCRAW:     We do our actual own

14   interviews.

15                   REPRESENTATIVE HINOJOSA:        Of the

16   minors as well?

17                   COL. MCCRAW:     Minors as well.      So 23

18   employees we interviewed and the residents at the

19   facility.    If we didn't, there was one done.         Not

20   for us but on behalf of us in terms of a child

21   advocacy interview.      But -- so we've interviewed,

22   you know, near 28 people and reviewed the files and

23   supporting documentation.

24                   REPRESENTATIVE HINOJOSA:        Was there

25   any evidence that you found that any of the child


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 1   pornography was sold across state lines?

 2                   COL. MCCRAW:     We're working that right

 3   now, but not -- as of yet, no.

 4                   REPRESENTATIVE HINOJOSA:        No.   Okay.

 5                   COL. MCCRAW:     But, again, that goes

 6   back to -- and the only reason that one person

 7   hadn't been charged is we can't prove the

 8   criminality until we get that back, until we get the

 9   digital evidence back.      And that's what we're

10   waiting.   And so I'm not saying there's anything

11   reluctant by the prosecution to go forward.           There's

12   none -- that's not the case at all.         I mean, the

13   prosecution, I've got no doubt, will go forward, and

14   they will be anxious to remedy this.          But as you

15   know well, from your experience, is that we can't --

16   we don't make arrests unless we meet the elements of

17   the offense.

18                   REPRESENTATIVE HINOJOSA:        And so how

19   does your investigation deal with the information or

20   the evidence that DFPS has gathered?          Are you

21   working with them to understand how they're coming

22   to the conclusions that they're coming to and why

23   that may be different from the conclusions --

24                   COL. MCCRAW:     Absolutely.

25                   REPRESENTATIVE HINOJOSA:        -- you're


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 1   coming to?

 2                   COL. MCCRAW:     Absolutely.     Just

 3   like whether -- for example, a recording, if an

 4   audio recording is being reported on an intake is

 5   related to sexual abuse or ongoing sexual abuse, I

 6   mean, you've got to listen to that audio.           You need

 7   to go back and look at the source in that regard and

 8   interview the person that made the audio recording.

 9   Is that what she -- "Is this what you said?"            And,

10   of course, there's been on at least one occasion

11   where they, "No, that's not what I said."           And they

12   were able to -- and on review of the audio, it

13   was -- it didn't happen.

14             And keep in mind, I know DFPS has got --

15   you know, have got a number of different databases,

16   and they've got a number of different complaints,

17   and they've got an obligation to track or capture

18   every intake, what they call an intake.          It doesn't

19   matter whether it's correct or not.         You've got to

20   record it.    You've got to document it.        And then

21   you've got to act on it in that regard.          And just

22   because it says it's sexual abuse, it doesn't mean

23   it is.   And just because it says it may be

24   misconduct and not sexual abuse, it doesn't mean

25   it's not.    I mean, in the end someone's got to go in


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 1   and look at the information and fully investigate it

 2   and appropriately so.

 3                   REPRESENTATIVE FRANK:       So if I may --

 4   actually, Representative Hull.        Okay.

 5             So to that point, this is the first time I

 6   can remember that such a serious allegation was made

 7   public before it was investigated.         Can you -- and

 8   maybe -- maybe you're not the right person, I may

 9   need to talk to the agency, but how do we get to the

10   point where such a -- I mean, obviously, there's

11   some things that were true.        But the most serious,

12   the most -- you know, the most -- I want to say the

13   right word -- what's that -- headline inducing was

14   allegations that apparently are false.          How does it

15   get to the point where that becomes public record

16   before the investigation?       Is it concerning?      I

17   mean, honestly, this could happen to anybody in

18   here, right, that --

19                   COL. MCCRAW:     Yes, sir.

20                   REPRESENTATIVE FRANK:       -- it -- if

21   we're going to make public information that is --

22   it's really astounding because now you have -- and,

23   honestly, you have moved -- you know, these girls

24   have all been moved from here because of an

25   allegation, right, that hasn't been -- and so how --


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 1   do you know how we got here?        And this may be more

 2   for them.    I have an idea, but I would like to hear

 3   it.

 4                   COL. MCCRAW:     Well, I mean, it --

 5   just -- well, the whole reason that we're involved

 6   in it is because of reports of ongoing sex

 7   trafficking of children at this location.           And you

 8   can imagine there was yourself, you've got the --

 9                   REPRESENTATIVE FRANK:       There's 800,000

10   intakes a year.

11                   COL. MCCRAW:     -- you've got the

12   Lieutenant Governor.      I've got members calling,

13   what's going -- I mean, how -- in Texas, you don't

14   mistreat, you know, children in Texas.          That's --

15   it's a "no go."     Right?    And understandably,

16   including us, you know, who -- you know, there's got

17   to be something there, because otherwise why would

18   it be reported, you know, during a federal court

19   hearing in that regard as something -- just by

20   itself, we've got to get to the bottom of this.

21   Okay.   And that, again -- but as we got to the

22   bottom of it, the document that drove, of course,

23   the initial reports was -- was admittedly by its

24   author, okay, it was --

25                   REPRESENTATIVE FRANK:       But how does


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 1   that -- how does that become public?          It's a

 2   document between DFPS and a federal judge.           How does

 3   that become public?

 4                   COL. MCCRAW:     Well, actually, it's

 5   federal court monitors.       I don't know how that --

 6   how that eventually became public, but it did become

 7   public during a hearing that they had in federal

 8   court.   And as a result of that, I think it was even

 9   the -- I think -- if I'm not mistaken, I don't

10   believe the -- I believe the federal monitors

11   believed what was in that particular report.           I've

12   got no reason to believe otherwise.         And, certainly,

13   I don't believe why the -- why would the judge

14   believe otherwise as well if it was written in a

15   particular report?

16                   REPRESENTATIVE FRANK:       Okay.

17                   COL. MCCRAW:     But at the end of the

18   day, when you go through it, the author herself

19   admitted that this was -- and verified.          There was a

20   lot of inconsistencies in it.        And she knew that at

21   the time and wrote that, and she had a lot of

22   caveats, draft, unvetted, needs follow up.           So

23   there's -- and her notes were annotated, but,

24   unfortunately, the annotations, that would give the

25   reader pause and say, oh, this has not been verified


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 1   yet, this has not been investigated yet, okay, this

 2   hasn't been -- this hasn't been reconciled yet.

 3   That's not fact.     Okay.    In fact, it's -- you know,

 4   it's -- right now it's something as a summation in

 5   draft form, okay, but was released, okay, without

 6   those annotations to the federal court monitor, and,

 7   therefore, the federal district judge --

 8                   REPRESENTATIVE FRANK:       So does

 9   everything that goes to the court monitor become

10   public, or is it a --

11                   COL. MCCRAW:     I don't know.

12                   REPRESENTATIVE FRANK:       -- choice of

13   the court monitor to say, hey, here's an allegation

14   let me make this public now?

15                   COL. MCCRAW:     I don't know.      I don't

16   know that, sir.     I couldn't answer that.        I can't --

17                   REPRESENTATIVE FRANK:       Maybe somebody

18   else can.

19                   COL. MCCRAW:     I can't say because --

20   yeah.

21                   REPRESENTATIVE FRANK:       Okay.    Thank

22   you.

23             Yeah, Vice Chair.

24                   REPRESENTATIVE HINOJOSA:        Chairman,

25   just to be clear, two days we heard from the agency


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 1   in the Senate, these are their findings.           They don't

 2   have an official release but -- that's why everybody

 3   is confused because we have DPS saying one thing and

 4   we have DFPS saying, no, here is a timeline that

 5   they provided that's very concerning, alarming, and

 6   they've made decisions based on their findings.            And

 7   so it's not like some one person at 1:00 a.m. just

 8   wrote a letter that hasn't been substantiated.            We

 9   just heard two days ago in the Senate from this

10   agency that this is how they see it.

11                   COL. MCCRAW:     Well, if you -- if you

12   look at -- just for example, just when you have

13   intakes, they count intakes and you have those

14   and -- and some of those intakes are duplicative,

15   but sounds like there's more than one or three, and

16   then you get right down to it, what's happening is

17   they're talking about the same thing, as an example.

18             Or it's reported as sex trafficking and

19   you really look at it, and then it has to do with

20   misconduct, medical neglect.        Okay.   Well, it's not

21   sex trafficking.     It's two different things.

22             And, similarly, you know, misconduct is

23   rolled into the general allegation of sex

24   trafficking or sex abuse ongoing.         And, actually,

25   what it was, is that that one incident wasn't sex --


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 1   sex trafficking, it was an employee sleeping on the

 2   job.    So that's why details matter ultimately.

 3                   REPRESENTATIVE NEAVE:       Mr. Chairman.

 4                   REPRESENTATIVE FRANK:       Yes.

 5                   REPRESENTATIVE NEAVE:       Okay.    Thank

 6   you.

 7              And words matter, I agree with you.         And I

 8   just heard the word "false" being used.          And that's

 9   why I wanted to clarify, you're not stating that the

10   allegations are false, right?

11                   COL. MCCRAW:     No, I'm stating that

12   the -- all the allegations that were made that I

13   discussed, we had findings in two major misconduct

14   or employee misconduct, those things are absolutely

15   true.

16                   REPRESENTATIVE NEAVE:       Okay.    And the

17   reason I say words matter is because we already know

18   how difficult it is for survivors to come forward

19   when they are being trafficked or sexually assaulted

20   or sexually abused.      So that's why I have, you know,

21   concerns about broad statements such as the one in

22   this letter that says no evidence, that there's no

23   evidence of it, that I know that the vice chair

24   touched on because it's an ongoing investigation.

25              So I wanted to ask you, Colonel, if you


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 1   could, sort of walk us through the part of the

 2   investigation when you're interviewing -- or when

 3   DPS interviews the children.        So I understand you

 4   stated that you interviewed 28 people, 23 of those

 5   were employees.     How many of those were the

 6   children?

 7                   COL. MCCRAW:     Five.

 8                   REPRESENTATIVE NEAVE:       Okay.    Of the

 9   five children, who interviewed the children?

10                   COL. MCCRAW:     I'll get back to you.

11   But we interviewed most of them ourselves, but I

12   think in one instance, the one that was there for

13   the FBI was interviewed by somebody else.

14                   REPRESENTATIVE NEAVE:       Okay.    And

15   whenever DPS interviews them, do they go in uniform?

16                   COL. MCCRAW:     No, not at all.      This is

17   Texas Rangers doing the interviews.

18                   REPRESENTATIVE NEAVE:       Or the,

19   apologies, Texas Rangers.

20                   COL. MCCRAW:     Sometimes we enlist the

21   support from advocacy centers that specialize in

22   interviewing children.

23                   REPRESENTATIVE NEAVE:       In the

24   circumstance of those five children that were

25   interviewed, were advocacy centers employed to


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 1   interview them?

 2                   COL. MCCRAW:     We do that routinely.        I

 3   can't tell you which ones.       We may have used that in

 4   this particular instance.

 5                   REPRESENTATIVE NEAVE:       So you're

 6   not -- so we don't know specifically who interviewed

 7   the five children in this circumstance?

 8                   COL. MCCRAW:     No, all five -- yeah, I

 9   can't tell you which Ranger did which interview, but

10   I can tell you all of them interviewed.

11                   REPRESENTATIVE NEAVE:       I understand

12   that they were interviewed, but I'm trying to find

13   out who interviewed the girls?        Was it the child

14   advocacy centers or the rangers?

15                   COL. MCCRAW:     Yeah, and I'll give you

16   that information.

17                   REPRESENTATIVE NEAVE:       And it's really

18   important, Colonel, because -- you know,

19   specifically, let's say that it was the rangers.

20   Can you talk to us about, do the rangers go through

21   trauma informed training whenever interviewing

22   survivors sexual assault or abuse?

23                   COL. MCCRAW:     They're experts at

24   conducting those interviews, in fact, at conducting

25   these investigations.      In fact, we do these


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 1   routinely.    We even involve -- we even involve and

 2   train our troopers how to -- how to treat children

 3   in these situations, because, unfortunately, when

 4   the -- when the sex, you know, trafficking and

 5   exploitation of children is such that troopers are

 6   exposed to it on the roadway and have an opportunity

 7   to rescue young victims of sex trafficking.

 8             So we make sure that this is a -- is not

 9   just something, you know, a specialty within the

10   department of -- but it's ubiquitous -- it's

11   ubiquitous in terms of the skill level whether it's

12   in recruit school all the way through their career

13   that they're looking for this because it's a

14   priority, certainly, of the state legislature and

15   the -- and the people of Texas, but it's a priority

16   of the Department of Public Safety in terms of

17   conducting sex trafficking investigations.           In fact,

18   if anyone is an expert at doing those things, it's

19   the Department of Public Safety.

20                   REPRESENTATIVE NEAVE:       And so the --

21   also with respect to sex trafficking, the sexual

22   abuse and other circumstances --

23                   COL. MCCRAW:     Exactly.

24                   REPRESENTATIVE NEAVE:       -- you're

25   saying you-all go through, like, specific training


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 1   for that.

 2                   COL. MCCRAW:     Absolutely.

 3                   REPRESENTATIVE NEAVE:       Can you get --

 4                   COL. MCCRAW:     And importantly, as you

 5   note, I mean, the child is -- the last thing you

 6   want to do is traumatize the child --

 7                   REPRESENTATIVE NEAVE:       Right.    And

 8   that's my --

 9                   COL. MCCRAW:     -- when you're doing an

10   interview.

11                   REPRESENTATIVE NEAVE:       And that's my

12   concern.    And their willingness to open up to

13   whomever is going to talk to them and, you know, may

14   not, for example, want to open up to somebody in --

15   you know, that's wearing a uniform or may feel

16   comfortable if they're not.        And that's why I was --

17                   COL. MCCRAW:     And that's why using --

18   sometimes it's appropriate to use child advocacy in

19   lieu of a uniformed officer or certainly -- or a

20   Texas Ranger, for that matter.

21                   REPRESENTATIVE NEAVE:       But we're not

22   sure if they were used in this circumstance?

23                   COL. MCCRAW:     No, I'll let you know

24   which one is which, exactly which children were

25   interviewed by Rangers -- I know at least two -- and


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 1   which ones we depended upon child advocacy to do the

 2   interview for us.

 3                   REPRESENTATIVE NEAVE:       Okay.    And the

 4   child advocacy organizations, I assume, would be

 5   local in Bastrop County?

 6                   COL. MCCRAW:     I'll have to -- before I

 7   answer that question, I'll make sure I have the

 8   exact who did what.

 9                   REPRESENTATIVE NEAVE:       Okay.    Thank

10   you.

11                   REPRESENTATIVE FRANK:       Representative

12   Hull.

13                   REPRESENTATIVE HULL:       Hi there.     Thank

14   you.    You mentioned five children being interviewed,

15   but I know there were six that we're talking about,

16   you know, possible victims.        And then so where was

17   the sixth?    And then what about were -- why were not

18   all 11 children being interviewed?

19                   COL. MCCRAW:     Well, the number of

20   residents change over a period of time.          Of course,

21   the ones we're -- we had access to the ones that the

22   DFPS put in that location.       And they think the one

23   that we didn't interview was, as I understand it, is

24   not -- was there as -- on volunteer purposes.            Was

25   not a placement, was there voluntarily.


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 1                   REPRESENTATIVE HULL:       So all the 11

 2   children, you're saying there weren't 11 children

 3   there at the time?

 4                   COL. MCCRAW:     Well, at various

 5   different times.     And I'll get back to you exactly

 6   how many children we talked to and when they were

 7   and what time they were.

 8                   REPRESENTATIVE HULL:       And I know going

 9   back off of what Representative Neave was saying,

10   I'm also interested in dates of interviews,

11   forensic/nonforensic, locations, child advocacy --

12   was it at child advocacy center, all of those sorts

13   of things.

14                   COL. MCCRAW:     Yeah.    And I'll provide

15   all that information and detail to you.

16                   REPRESENTATIVE HULL:       Thank you.     A

17   couple more quick questions.

18              Does the -- did the facility have security

19   footage?

20                   COL. MCCRAW:     We didn't see any

21   security footage that we're aware about.           I'll --

22   let me follow back up to see if they reviewed any

23   security footage.

24                   REPRESENTATIVE HULL:       Okay.    And then

25   you had mentioned -- and I know it's kept being


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 1   talked about and in the Senate hearing, the alleged

 2   perpetrator who was fired having roommates and

 3   family members that worked -- and do they still work

 4   at The Refuge?     What is -- what is the status there?

 5   Because that is concerning.

 6                   COL. MCCRAW:     They were -- they were

 7   fired.   And it was five overall.        And I think three

 8   initially were fired.      And one was involved with

 9   the -- with the escape, and then another one was

10   implicated.    But because they were untruthful when

11   they were initially confronted, you know, all of

12   them were fired that were initially identified as

13   related.

14                   REPRESENTATIVE HULL:       So the -- on the

15   24th, the alleged perpetrator who -- the whole thing

16   with the pictures, that woman was fired?

17                   COL. MCCRAW:     Correct.

18                   REPRESENTATIVE HULL:       And then you're

19   saying that same day --

20                   COL. MCCRAW:     No, the next outcry

21   occurred on February 20th.       When that outcry

22   occurred, okay, and that dealt with -- February 20th

23   dealt with the escape -- or excuse me -- fleeing of

24   two, okay, residents, and they were facilitated or

25   assisted by a shelter employee.        Okay.    And that


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 1   shelter employee was terminated, okay, immediately.

 2             And then during the course of The Refuge

 3   investigation, okay, looking at employees, some

 4   may -- were not involved necessarily in assisting

 5   the child, okay, but because they were untruthful

 6   when they were -- initially had the discussions with

 7   them, they were terminated as well.

 8             So right now, as I recall, there were two

 9   individuals that -- one actually physically was

10   involved in terms of assisting the two minors, and

11   then another one, you know, that facilitated was

12   part of the conspiracy, if you will.

13                   REPRESENTATIVE HULL:       But you said --

14   so three were -- and maybe I misheard you.           That

15   three were fired, and then there were you said

16   something about five?

17                   COL. MCCRAW:     One was charged.      Okay.

18   And as I understand it, three have been terminated,

19   and another one, I'm not -- I'm not sure what -- the

20   last one.

21                   REPRESENTATIVE HULL:       Okay.    So do you

22   know, does anyone still -- is still employed that is

23   a relative or roommate with any of those that

24   have -- that are the alleged?

25                   COL. MCCRAW:     Not that I'm aware of.


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 1                   REPRESENTATIVE HULL:       Thank you.

 2                   REPRESENTATIVE FRANK:       Representative

 3   Meza.

 4                   REPRESENTATIVE MEZA:       Thank you,

 5   Chair.

 6             So you had some criticism.        We have heard

 7   it, so you I'm sure you heard it, about releasing

 8   too soon, that there was no misconduct after about a

 9   week of investigating.      Would you attribute that to

10   what -- some that you have mentioned here, about the

11   difference between the use of the word "misconduct"

12   versus "abuse" versus other terms?         Is that why?     Or

13   would you like to have an opportunity to respond to

14   that criticism?

15                   COL. MCCRAW:     Yeah, there -- well,

16   there were allegations that were made.          Okay.    And

17   certainly every allegation is important, and every

18   report or what they would call an intake is

19   important and needs to be taken seriously.           But upon

20   investigation of each one of the allegations, okay,

21   we had determined that several of them were

22   duplicative.    They were the same -- they're talking

23   about the exact same one.

24             There's another allegation about a

25   resident that had been abused not while at the


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 1   facility but prior to had been trafficked by a

 2   boyfriend of an employee at the location.           And, of

 3   course, as it turned out, the time that that

 4   allegedly occurred, the boyfriend was in jail at the

 5   time.   So those conflict with that happening, and

 6   that one even predates -- predates the event.

 7              There was instances that was reported as

 8   sex trafficking or related to sex trafficking on the

 9   intakes, that when you look into the underlying

10   documentation, there was really employee misconduct.

11   You know, one had to do with medical neglect, and

12   another one had to do with an employee sleeping on

13   the job.    So you can't really track that.

14              So when you look at all the evidence,

15   okay, what really came forward was, okay, there was

16   two major incidents that occurred that -- involving

17   the children, the residents there.         And one there

18   was evidence of was certainly the -- we'll call it

19   the sexual abuse of a child, two minors, that

20   relates to the nude photos.        That occurred.     The

21   outcry occurred on January 24th.         It was immediately

22   reported to DFPS.     DFPS ensured it was immediately

23   reported to Bastrop County Sheriff's Department and

24   the appropriate authorities.        So they did their job

25   in terms of immediately referring it, and it's been


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 1   investigated criminally by Bastrop County Sheriff's

 2   office.

 3              We looked at everything we could.

 4   Every -- is there anything that we could find that

 5   would give us -- that any reason to believe that

 6   any -- anyone was involved in the sexual abuse,

 7   sexual neglect, sex trafficking of a child, and

 8   there was nothing.     And right now is solicitation.

 9   And so the only thing we have goes back to the

10   outcry that happened on January 24th, and it

11   absolutely happened.

12              And that person, I'm quite confident, is

13   going to be arrested and charged.         I just think it's

14   inappropriate for me to say when that's going to

15   happen because I know there's an expectation to meet

16   the final elements of the offense, that we have

17   underlying documentation, which is digital, and we

18   have to have it and we understand that.          But I think

19   that's going to happen.       There's nothing else.

20                   REPRESENTATIVE MEZA:       That letter came

21   across kind of like, "Nothing to see here, move

22   along.    Nothing to see here."

23                   COL. MCCRAW:     Well, if there was, I

24   guarantee you, we'd pursue it.        And there's nothing

25   more that we take firmly, you know, anybody that's


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 1   abused a child in any way, shape or form -- and I

 2   won't say in particular, but the idea that someone

 3   would -- has been entrusted to take care of girls

 4   that have been already sexually trafficked and

 5   abused would somehow abuse them is, you know,

 6   unbelievable that that could occur.         And if we had

 7   any evidence of it, I can assure you, we would

 8   pursue it.    We keep the investigation open as long

 9   as possible if the evidence suggests it, if it was

10   there.

11                   REPRESENTATIVE MEZA:       The interview of

12   the two victims about nude photos, did that happen

13   at The Refuge, or did the interviews happen anywhere

14   else?

15                   COL. MCCRAW:     The -- you're talking

16   about The Refuge employee that was terminated

17   that --

18                   REPRESENTATIVE MEZA:       The two victims

19   of the nude photos, were they interviewed at The

20   Refuge, or did those interviews happen somewhere

21   else?

22                   COL. MCCRAW:     I believe they -- those

23   happened -- I'll find out exactly where the

24   interviews occurred, and let you know.

25                   REPRESENTATIVE MEZA:       Well, I wasn't


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 1   so much interested in exactly where they occurred,

 2   as the fact that they were no longer at Refuge,

 3   right?   So the interviews didn't --

 4                   COL. MCCRAW:     That's correct.

 5                   REPRESENTATIVE MEZA:       -- actually

 6   happen at The Refuge; they did happen somewhere

 7   else?

 8                   COL. MCCRAW:     Correct.

 9                   REPRESENTATIVE MEZA:       Okay.

10                   COL. MCCRAW:     Well, I don't want to

11   say that because I don't know that they didn't.            The

12   outcry occurred on January 24th.         It was reported to

13   Bastrop County Sheriff's Department on the 24th of

14   January.   So I'm not sure whether they -- they could

15   have interviewed them there at that location.            So

16   until I -- until I know that, I'm going to -- I'll

17   hold in abeyance my response.

18                   REPRESENTATIVE MEZA:       The person that

19   was arrested for lying to law enforcement officers,

20   was that a result of lying to the FBI, and is DPS

21   collaborating with the FBI?

22                   COL. MCCRAW:     Yeah, we're certainly

23   collaborating.     But Bastrop County, they lied to

24   Bastrop County Sheriff's Department and the law

25   enforcement agency.      The FBI was assisting in the


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 1   particular investigation.       So either/or and whether

 2   you do it locally or federally, certainly, you can

 3   if you're lying to a law enforcement agency.           So

 4   that was what the person was -- and it had to do

 5   with the child fleeing.

 6                   REPRESENTATIVE MEZA:       Okay.    Thank

 7   you.

 8                   REPRESENTATIVE FRANK:       Ms. Neave.

 9                   REPRESENTATIVE NEAVE:       Thank you,

10   Mr. Chair.

11             Colonel, were any of the outcries or

12   reports from -- being made by people that were not

13   employees of The Refuge?

14                   COL. MCCRAW:     I would have to go back

15   and review the timeline, but there's -- certainly

16   some of the intakes involved were audio and -- and

17   could very well be from outside.         But for the most

18   part, there were internal or, you know, residents.

19                   REPRESENTATIVE NEAVE:       Okay.    And so

20   if -- and you stated that y'all interviewed only

21   employees of The Refuge and DPS and the children,

22   right?   So if --

23                   COL. MCCRAW:     That's correct.

24                   REPRESENTATIVE NEAVE:       So if any

25   reports were made by -- and, you know, I'll ask


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 1   DFPS, because I think from my understanding there

 2   is.    If it's being made from an outside person

 3   that's not, they weren't interviewed, then, by

 4   you-all, right?

 5                   COL. MCCRAW:     Unless we could find

 6   them.    Sometimes these are made anonymously and

 7   we're unable to track down who that is.          But we

 8   looked at -- every allegation that was made, we

 9   looked at.

10                   REPRESENTATIVE NEAVE:       But every

11   person that made an outcry, every person or

12   organization that made an outcry y'all spoke to?

13                   COL. MCCRAW:     If it was anonymous,

14   there would be really no way to track that person

15   down.

16                   REPRESENTATIVE NEAVE:       But if they

17   weren't anonymous.

18                   COL. MCCRAW:     If they weren't

19   anonymous, yeah, absolutely.

20                   REPRESENTATIVE NEAVE:       Okay.    Thank

21   you.

22                   REPRESENTATIVE FRANK:       Thank you.

23              Yes, Representative Hull.

24                   REPRESENTATIVE HULL:       Kind of what

25   Representative Noble asked earlier about the woman


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 1   who was fired being able to work with kids and the

 2   one possibly, hopefully will be arrested, the other

 3   people that were fired, is there anything that's

 4   going to prevent them from being hired?          Again, the

 5   same sort of question, but. . .

 6                   COL. MCCRAW:     Unless they have been

 7   charged with a crime, I don't -- I don't know that

 8   there's anything that would be.        And so it's -- you

 9   know, again, I won't -- it's hard to -- what due

10   diligence an agency uses to ensure that their

11   employees, you know, have the character to be able

12   to handle those particular positions and don't have

13   anything in their background that could conflict

14   with, you know, I can't -- I can't comment on.

15                   REPRESENTATIVE FRANK:       Again, I think

16   that's -- I think that's a question, if you'll

17   bookmark for DFPS, because that's -- just because

18   that's -- or HHSC, because those are really

19   internal -- you know, if there's -- if there's no

20   criminal record of it, it's pretty hard for you to

21   say.

22                   COL. MCCRAW:     Exactly.     Well, even our

23   own, you know, our own process, I mean, we're all

24   always concerned about who we hire.         It matters very

25   much, you know, employees and who you can trust.            So


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 1   we can certainly say we know what we do, but what --

 2   the due diligence that we do goes down -- and I know

 3   people -- it's not very popular here, but we -- not

 4   just in terms of the full criminal background check

 5   and the rest that goes with it in terms when you

 6   look at a background investigation on an employee,

 7   but even -- even preemployment polygraphs for

 8   positions of trust because, you know, in the end --

 9   you know, they're certainly not sustainable in

10   court, but they have been very helpful in screening

11   out known criminals that have applied to become a

12   Texas state trooper.      So. . .

13                   REPRESENTATIVE HULL:       You had

14   mentioned the girls that were interviewed, and then

15   there were some that weren't.        Was every child that

16   had any interaction with those that were fired and

17   the ones that will hopefully be -- the one that will

18   hopefully be arrested, were all of those children

19   interviewed?

20                   COL. MCCRAW:     Yes.

21                   REPRESENTATIVE HULL:       Okay.    So the

22   ones that weren't had no interaction with these

23   employees?

24                   COL. MCCRAW:     Well, I won't say no

25   interaction.    I'm not sure that they may have


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 1   interacted with an employee that was -- you know, I

 2   want to be careful about what I -- how do I

 3   characterize it.     We interviewed everyone that there

 4   was a related allegation.

 5                   REPRESENTATIVE HULL:       Okay.    Right,

 6   the sixth.

 7                   COL. MCCRAW:     Except one.

 8                   REPRESENTATIVE HULL:       The sixth one.

 9             And it was talked about the photos were

10   purchased and then the children in the pictures were

11   given drugs.    What were those drugs?        What kind and

12   how often?

13                   COL. MCCRAW:     We don't know that

14   there's -- we don't know that that was even

15   consummated at that point.       So that's being alleged.

16   And that goes to why we're looking at the evidence

17   and why we need some of the evidence to back whether

18   there was consummated.      And, of course, we need to

19   be able to demonstrate not just in terms of that but

20   also of the cash exchange.

21                   REPRESENTATIVE HULL:       Got it.    Thank

22   you.

23                   COL. MCCRAW:     Sure.

24                   REPRESENTATIVE FRANK:       Thank you.

25             Any other questions?       Any other comments?


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 1                   COL. MCCRAW:     Well, I can tell you

 2   this, that, hey, I don't care where it is, any given

 3   time there's an allegation that a child has been

 4   misused, trafficked in any way, shape or form, I'm

 5   going to fully pursue it.       Period.    There's no

 6   alibis.   There's no -- there's no opportunity for

 7   sloppy work on along those lines.

 8             But at the end of the day, evidence

 9   matters, and we have got to prove it.          Okay.   I

10   mean, the last thing we want to do is, the last

11   thing is very important, you know, convictions are

12   important, but it's more important that it has the

13   right person getting convicted.        And we're

14   committed, you know, fully to being able to do as

15   you have charged us to do, and we'll continue to do

16   what we can to address this problem we face.

17             And I can tell you, there's no question

18   about it, anybody that has worked -- I don't care

19   what violations you have worked in life, if you've

20   ever worked sex trafficking of a child, there's

21   nothing more egregious and the depravity of mankind

22   just knows no bounds in that regard.

23             So thank you, Chairman.        And thank you for

24   all you do for the state of Texas.

25                   REPRESENTATIVE FRANK:       I think one


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 1   more question from Representative Rose.

 2                   COL. MCCRAW:     Yes, ma'am.

 3                   REPRESENTATIVE ROSE:       Colonel, we just

 4   have a copy of your timeline?

 5                   COL. MCCRAW:     Yes, ma'am.

 6                   REPRESENTATIVE ROSE:       And how -- are

 7   you going to send to it the clerk?         Or how are we

 8   going to get it?

 9                   COL. MCCRAW:     What I'm going to do,

10   I'm going to a Texas Ranger -- we'll put the report

11   together and send to it the clerk.

12                   REPRESENTATIVE ROSE:       Okay.    Thank

13   you.

14                   COL. MCCRAW:     So we won't just have

15   the timeline.    We'll have additional information,

16   some underlying documentation with it.

17                   REPRESENTATIVE ROSE:       Thank you.

18                   REPRESENTATIVE FRANK:       Thank you very

19   much.   All right.

20                   (Concluded.)

21

22

23

24

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 1                   REPORTER'S CERTIFICATION

 2

 3

 4                   I, CHRISTY R. SIEVERT, CSR, RPR, in

 5   and for the State of Texas, hereby certify to the

 6   following:

 7             That the proceedings were transcribed by

 8   me from audio recordings, and is a true record of

 9   the proceedings had;

10             I further certify that I am neither

11   counsel for, related to, nor employed by any of the

12   parties or attorneys in the action in which this

13   proceeding was taken, and further that I am not

14   financially or otherwise interested in the outcome

15   of the action.

16             Subscribed and sworn to on this the 28th

17   day of March, 2022.

18

19

20                               ____________________________
                                 CHRISTY R. SIEVERT, CSR, RPR
21                               Texas CSR 8172
                                 Expiration Date: 4-30-2023
22

23

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